Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 1 of 15

Js 44 (Rev. 06/17)

provided by local rules of court. This form, approved by the Judicial Co erence of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re lace nor supp}ement the fllin and service of pleadings or other papers as required by law, except as

nited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS

Char|es P|otnick and Diane P|otnick

(b) County of Residence of First Listed Plaintiff
(EXCEPTIN U.S. PLAINTIFF CASES}

Montgomeg Coun§y, PA

(C) AttDrneyS (Firm Name, Address, and Telephone Numberj
Marc S. Rosenberg, Nlammuth & Rosenberg
401 City Avenue, Suite 122, Ba|a Cynwyd, PA 19004
(610) 667-1500; rosenberg@p|aintiff.com

DEFENDANTS

NOTE:

Attomeys (IfKnawn)

(215) 665-3334; sp

 

County of Residence of First Listed Defendant

Costco Who|esa|e Corporation

eptember 1974, is required for the use of the Clerk of Court for the

King County, WA

(IN U.S. PLAINTIFF CASES ONLY)

erling@bbs-|aw.com

IN LAND CONDEMNATION CASES, USE TI'{E LOCATION OF
THE TRACT OF LAND INVOLVED.

Warren F. Sper|ing, Bennett, Brick|in & Sa|tzburg LLC
1601 Market Street, 16th F|oor, Phi|ade|phia, PA 19103

 

II. BASIS OF JIJRISDICTION (Place an "X" in One Box Only)

 

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plainn]f

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Baxfor De]?mdanl)
0 1 U.S. Govemment E| 3 Federa] Question PTF DEF PTF DEF
Plainn'ff (U.S. GovernmenINol a Party) Citizen of This State m 1 El 1 Ineorporated or Prineipal Place El 4 |:l 4
of Business In This State
U 2 U.S. Govemment d 4 Diversity Citizen of Another State D 2 I:l 2 Incorporated and Principal Place C| 5 3 5
Defendant (Indicate Cilizenship of Pariies in Item Ill) of Business In Another State
Cin`zen or Subject of a El 3 E| 3 Foreign Nation |:l 6 El 6
drawn
IV. NATURE OF SUIT (Place an 'X" in One Box On/y) _ Click here for: Nature of Suit Code Descri \tions
| coNTRACT TOR_TS FoRF_ElTI;l;E/PENALTY BANKRHPTCY oTHER STATUTES |
Cl 110 lnsura.nce PERSONAL INJURY PERSONAL INJURY E| 625 Drug Related Seizure El 422 Appeal 28 USC 158 IJ 375 False Claims Ac’c
E| 120 Marine Cl 310 Airpla.ne E| 365 Personal Injury - of Property 21 USC 881 E| 423 Withdrawal C| 376 Qui Tam (31 USC
El 130 Miller Act CI 315 Ailplane Product Product Liability El 690 Other 28 USC 157 3729(3))
Cl 140 Negotiable Instrument Liability El 367 Health Ca.re/ C| 400 State Reapportionment
El 150 Recovery of Overpayment CI 320 Assault, Libel & Phannaceutical PEQEERTY RIGHTS C| 410 Antitrust
& Enforcemeot of Judgment Slander Personal Injury El 820 Copyrights EI 430 Banks and Banking
Cl 151 Medicare Act El 330 Federal Employers’ Product Liability U 830 Patent El 450 Commerce
CJ 152 Recovery of De£aulted Liability CI 368 Asbestos Personal Cl 835 Patent - Abbreviated El 460 Deportation
Student Loans Cl 340 Marine Injury Product New Drug Applicatiou El 470 Racketeer Inf]uenced and
(Excludes Veterans) Cl 345 Marine Product Liability IJ 840 Trademark Conupt Organizations
Cl 153 Recovery of Overpayment Liability PERSONAL PROPERTY LAliOR l L'_l 480 Consumer Credit
of Veterao’s Beneiits Cl 350 Motor Vehicle El 370 Other Fraud Cl 710 Fair Labor Standa.rds Cl 861 HIA (1395ff) El 490 Cable/Sat TV
l`_'l 160 Stockholders’ Suits Cl 355 Motor Vehicle Cl 371 Truth in Lending Act Cl 862 Black Lung (923) D 850 Securities/Commodities/
lj 190 Other Contract Product Liability l:l 380 Other Personal El 720 Labor/Ma.nagement Cl 863 DIWC/DIWW (405(g)) Exchange
El 195 Contract Product Liability g 360 Other Personal Property Damage Relations |:l 864 SSID Title XVI D 890 Other Statutory Aetions
El 196 Franchise Injury E| 385 Property Dama.ge Cl 740 Rajlway Labor Act El 865 RSI (405(g)) C| 891 Agricultura] Acts
El 362 Personal Injury - Product Liability Cl 751 Family and Medical El 893 Environmental Matters
_ Medical Ma.lpraetice _ Leave Aet El 895 Freedom oflnfonnation
l REAL PROPERTY CIVIL RIGHTS PRISONER PET]TIONS |:l 790 Other Labor Litigation FEDERAL TAX SUITS Al:t
El 210 Land Condemnation |:l 440 Other Civil Rights Haheas Corpus: Cl 791 Employee Retirement Cl 870 Taxes (U.S. Plaintiif El 896 Arbiuation
D 220 Foreclosure Cl 441 Voting Cl 463 Alien Detainee lncome Secun`ty Act or Defenda.nt) EI 899 Administrative Procedure
El 230 Rent Lease & Ejectment Cl 442 Employn:lent El 510 Motions to Vacate El 871 IRS~Third Pa.rty Act/Review or Appeal of
E| 240 Torts to Land E| 443 Housing/ Sentence 26 USC 7609 Agency Decision
El 245 Tort Product Liability Accommodations CI 530 General Cl 950 Consv'tutiona.lity of
IM]VHGRATION State Stat'utes

Cl 290 All Other Real Property

 

El 445 Amer. w/Disabilities -

Emplo ent

D 446 Amer. w/Disabilities -

l:l 535 Deatll Penalty

 

Other:
El 540 Manda.mus & Other

 

 

D 462 Naturali.zan`on Application
E| 465 Other Immigrarion

 

 

 

Other El 550 Civil Rights Actions
Cl 448 Educatioo El 555 Prison Condition
Cl 560 Civil Detainee -

Conditions of

Confmement
V. ORIGIN (P/ace cm ‘X" in One Box 0n1y)
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Proceeding State Coun Appellate Court Reopened Another Distri¢t thlgation - L_itigation -
(speci/j/) Transfer Dlrect File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

28 U.S.C. §§1332. 1441 and 1446

Brief description of cause:
Persona| injury action

 

 

 

 

VII. REQUESTED IN EI cHECK IF THIS rs A cLASs ACTION DEMAND $ CHECK YES duly if demanded in Complainf=
COMPLAINT: UNDER RULE 23, F~R-Cv‘P- JURY DEMAND: )Z( Yes \:lNo
VIII. RELATED CASE(S) 4 _ _
IF ANY (See msirucllons}, JUDGE _ _ _ DOCKET ER
DATE SI TURE OF A RNEY OF RECORD
01/03/2019 u»\~ K\._-\»\
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 2 of 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plainzz#to indicate the category of the case for the pu)pose of assignment to the appropriate calendar)

381 Linder Drive, Elkins Park, PA 19027
999 Lake Drive, |ssaquah, WA 98027

Address of Plaintiff:

Address of Defendant:

 

740 Upper State Road, North Wa|es, |E’A

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IFANY:

Case Number: Judge: Date Terrninated: '

 

Civil cases are deemed related when Yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year Yes g No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes |:| No
pending or Within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes g No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes E No
case filed by the same individual?

I certify that, to my knowledge, the within case Ij is / EI is not related to any case now pending or within one year previously terminated action in
this court except as noted above. '

DA_TE 01/03/2019 63,»,-~ Q\a.<\ 36676

 

 

 

 

 

 

 

 

Attomey-at-Law /Pro Se PIMHF Attorney I.D. # (zfapplicable)

CIV]L: (Place a \/ in one category only)
A. Federal Question Cases: B. Diversity Jun'sdiction Cuses:
n 1 Indemnity Contract, Marine Contract, and All Other Contracts I:| l. Insurance Contract and Other Contracts
m 2 FELA m 2. Airplane Personal Injury
m 3 Jones Act-Personal Injury m 3. Assault, Defamation
n 4 Antiirust |:] 4. Marine Personal Injury

5 Patent |:| 5 . Motor Vehicle Personal Injury -
E 6 Labor-Management Relations 6. Other Personal Injury (Please specijj)): S||p an d F a ll
m 7 Civil Rights m 7. Products Liability
|:| 8 Habeas Corpus m 8. Proclucts Liability ~ Asbestos

9. Securities Act(s) Cases E| 9. All other Diversity Cases

10. Social Security Review Cases (Please spectfv):
g l l. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
( T he effect of this certification is la remove the casefi‘om eligibility far arbitralion.)

I, . counsel of record or pro se plaintiff, do hereby certify

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

|:| Relief other than monetary damages is sought

DATE:

 

Attorney-at-Law / Pro Se Plairmfr Attorney I.D. # (lfapplicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

civ_ 609 (5/2018)

 

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 3 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

CHARLES PLOTN|CK and : CIVIL ACTION
D|ANE PLOTN|CK :

V. .
COSTCO WHOLESALE CORPORATION NO.

In accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (S ee § 1:03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management _ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks. (X)

01/03/2019 Df»'-~ Q\Q>»(\ Defendant

 

 

 

Date A¢tol‘lley'at'law `\l Attorney for
(215) 665-3334 (215) 561-6661 sperling@bbs-law_¢()m
Te_lephone FAX Number E-Mail Address

(Civ. 660) 10/02

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 4 of 15

IN THE UNITED STATES DISTRICT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

 

CHARLES PLOTNICK and
DIANE PLOTNICK
CIVIL ACTION NO.
vs.
COSTCO WHOLESALE CORPORATION
NOTICE OF REMOVAL

 

AND NOW, comes defendant, Costco Wholesale Corporation, for the purpose only of

removing the cause to the United States District Court for the Eastern District of Pennsylvania and

respectfully avers as follows:

1. This is a civil action filed and now pending in the Court of Common Pleas of
Montgomery County, Pennsylvania, No. 2018-28122.

2. On December 11, 2018, plaintiffs filed their Praecipe for Summons Which was
served December 21, 2018. (See attached true and correct copy of the Praecipe for Surnrnons

marked as Exhibit “A”).

3. The averments made herein are true and correct With respect to the date and time
upon Which the Praecipe for Summons Was filed and served and the date upon Which this notice is
being filed.

4. This suit is of a civil nature and involves a controversy between citizens of different
states. Plaintiffs are citizens of the Commonwealth of Pennsylvania. Defendant, Costco
Wholesale Corporation is a corporation organized under the laws of the State of Washington With
its principal place of business at 999 Lake Drive, Issaquah, WA 98027.

5. Defendant, Costco Wholesale Corporation, has simultaneously With the filing of

this notice, given Written notice to the plaintiffs

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 5 of 15

6. Defendant, Costco Wholesale Corporation, is also filing a copy of the instant notice
of removal and all attachments thereto with the Prothonotary of the Court of Common Pleas of
Philadelphia County.

7. The summons Was filed in order to assert claims against the defendant, Costco
Wholesale Corporation, for personal injuries allegedly sustained in an incident that occurred on
November 11, 2017 , at the Costco Warehouse located at 740 Upper State Road, North Wales, PA.

8. Defendant, Costco Wholesale Corporation, seeks to remove this matter to the
United State District Court for the Eastern District of Pennsylvania. Defendant, Costco Wholesale
Corporation, asserts that the amount in controversy in this matter exceeds $75,000. As the
moving party, defendant, Costco Wholesale Corporation, bears the burden of proving that
jurisdiction is proper in federal court. Russ vs. State Farm Mutual Automobile lnsurance
Company, 961 F.Supp. 808, 810 (E.D. Pa. 1997).

9. ln determining Whether the jurisdiction amount has been satisfied, the Court must

first look at the complaint Anirus vs. Shilev Inc., 989 F.2d 142, 145 (3rd Circ. 1993).

 

10. The underlying lawsuit demands an amount “in excess of the jurisdictional amount
requiring submissions to Arbitration” (which are currently $50,000). Plaintiff, Charles Plotnick’s
injuries include non-displaced right Wrist fracture, bruising and contusions to face, Which required

stitches near right eye, left leg, shin and knee.

11. Defense counsel spoke with plaintiffs’ counsel Who advised that in light of the

injuries alleged, plaintiffs could not stipulate to limit their damages to $75,000.

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 6 of 15

WHEREFORE, defendant, Costco Wholesale Corporation, hereby removes this suit to

this Honorable Court pursuant to the laws of the United States in such cases made and provided.

Date:

Januarv3` 2019

BY:

BENNETT, BRICKLIN & SALTZBURG LLC

 

WARREN F. SPERLING, ESQUIRE
Attorney I.D. #36676

1601 Market Street, 16th Floor
Philadelphia, PA 19103

(215) 561-4300

Email: sperling@bbs-law.com
Attorney for Defendant,

Costco Wholesale Corporation

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 7 of 15

IN THE UNITED STATES DISTRICT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES PLOTNICK and

DIANE PLOTNICK
CIVIL ACTION NO.

vs.
COSTCO WHOLESALE CORPORATION

NOTICE

To: Marc S. Rosenberg
Mammuth & Rosenberg
401 City Avenue, Suite 122
Bala Cynwyd, PA 19004

Please take notice that defendant, Costco Wholesale Corporation, has filed a Notice of
Removal to the United States District Court for the Eastern District of Pennsylvania removing to
that Court a civil action previously pending in the Court of Common Pleas of Montgomery County,
entitled, Charles Plotnick and Diane Plotnick v. Costco Wholesale Corporation, No. 2018-28122.

BENNETT, BRICKLIN & SALTZBURG LLC

WARREN F. SPERLING, ESQUIRE
Attorney I.D. #3 6676

1601 Market Street, 16th Floor
Philadelphia, PA 19103

(215) 561-4300

Email: sperling§a>,bbs-law.com
Attorney for Defendant,

Costco Wholesale Corporation

BY:

 

Date: Janual_'y 3. 2019

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 8 of 15

IN THE UNITED STATES DISTRICT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

 

CHARLES PLOTNICK and
DIANE PLOTNICK
CIVIL ACTION NO.
vs.
COSTCO WHOLESALE CORPORATION
PROOF OF FILING

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA
Warren F. Sperling, being duly sworn according to laW, deposes and Says that he is a

member in the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for defendant, Costco

Wholesale Corporation.

That he did direct the filing With the Prothonotary of the Court of Common Pleas of

Montgomery County, a copy of the Notice of Removal, attached hereto, Said filing to be made on

January 3 , 2019.
BENNETT, BRICKLIN & SALTZBURG LLC

WARREN F. SPERLING, ESQUIRE
Attorney I.D. #3 6676

1601 Market Street, 16th Floor
Philadelphia, PA l 91 03

(215) 561-4300

Email: sperling'§aibbs-law.com
Attorney for Defendant,

Costco Wholesale Corporation

BY:

 

Sworn to and subscribed
befor me this gday
, 2019.

duct/uhf M
NOTARY PUBLIC commonw:Am-i oF umwch
NorARlAL scAL __ `
0£lel-: M. PATscH, Notary while

City of Philadelphia, Phiia. County
My Commission Expires October 24, 2021

  

 

 

 

 

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 9 of 15

IN THE UNITED STATES DISTRICT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

 

CHARLES PLOTNICK and
DIANE PLOTNICK
CIVIL ACTION NO.
vs.
COSTCO WHOLESALE CORPORATION
PROOF OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA

Warren F. Sperling, being duly sworn according to law, deposes and says that he is a
member in the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for defendant, Costco
Wholesale Corporation and that he did serve this 3rd day of January, 2019, the aforementioned
notice to plaintiffs upon the individual named below by electronic notification by the Court or
depositing a copy of same in the United States first class mail, postage prepaid, enclosed in

envelope plainly addressed to:

Marc S. Rosenberg
Mammuth & Rosenberg
401 City Avenue, Suite 122
Bala Cynwyd, PA 19004

BENNETT, BRICKLIN & SALTZBURG LLC

main

WARREN F. SPERLING
Attorney I.D. #36676

1601 Market Street, 16th Floor
Philadelphia, PA 1 91 03

(215) 561-4300

Email: sperlineirt.l.bbs-law.com
Attorney for Defendant,
Costco Wholesale Corporation

BY:

 

Sworn to and sugsz:ribed

bef e me this __ day
Of h W{_ , 2019- Monwzm.m or rasmuva
NoquL S£AL

(Q/’ quid HI/- @Z»%C/(-/ miss M. mscti, Notary public

d 1 hta, Phila. County
NOTARY PUBLIC WCCL‘}',,‘,{{,:,'{I,‘§ signs october 24,1021

 

 

 

 

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 10 of 15

Exhibit “A”

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Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 11 of 15

il\’ '1`1111`, COURT OF COMMON PLEAS OF MONTGOMERY COUNTY, PENNSYLVANIA
Cl lARLES l’l,.OTNlCK

VS.

NO. 2 -
COSTC() WHOLESALE CORP()RATI()N 018 281 22

PRA ECIPE FQR_,SM_M MONS

'i`o the Prothonotary:
lssuc Summons in Civil Action in the above casc.
ORIGINAL SlGNA'i'URE Rli'l`/\I`NIE,D BY THE F|LING PAR'I`Y

Sigxmi ute

MARC S ROS[ZNB!ERG, HSQ.

 

i~l]mg ]'uriy

44457
ll) Number

Datc l 1/30/20 l 8
MAMMu'ri-i & RoSENBERG

 

Fim'i Namc

401 Cl'I'Y LINE AVENUE, SUlTE 122

 

 

 

Addrcss
BALA CYNwYo, PA 19004 ?`TT
(610)667-1500 ‘L'j'
i‘honc ::
****#**** d

'l"O: Dcf<:ndanltsi __._
You arc notified that thc Plaintiff(s) has / have commenced an action against yt)u. _l"

 

Prothonotary, P@>m/tgomeeyeéminty

 

Daic; l 1/30/2018 By: Seth Rovncr
Clerk / Dcputy

 

Adriresses must he included for all parties

merits differently than ncn-oon&denlia/ information and ddcuments.

__ _,._ ,...

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Un/`fied Judicrai System of Pennsylvania: Case Records ofthe Aonellale and

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 12 of 15

lN 'l`l~ll'"', COURT OF` COMM`ON PLEAS OF MONTGOMERY COUNTY, PENNSYLVANIA
CHARLES PLOTNICK

VS.

. N . 018-28|2
COS'l`CO Wl'lOl..l:`S/\LHCORl’OR/\'l`l()N 0 2 2

Montgomery County Court oi`Common Pleas. The information provided herein is used solely as an aid
in tracking cases in the court system 'E'his form does not supplement or replace the filing and service of
pleadings or other papers as required by law or rules ol`court.

 

. . M RCS ROSENBERG, 13' .,1D:44457
Namc ol` l’laintii`f`/Appcllant's Attomey: A bq

 

Sclf-Reprcscntcd (I’ro Sc) litigant |::|

Class Action Suit ij Yes No
Ml).'l Appcal g Yes No M n I) lmra es Requested

 

 

Commcnccment of Action; Amount in Controyg-rsy.'
Writ of Su_mjpgns Morc than $50,000

 

 

 

Case Type and Code

'l`ort:

 

 

Prcnlises Liability

Othcr:

 

mnfqn@nfidenllal information and documents

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Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 13 of 15

Suprerne Counk`&f;l?ennsylvama

 

 

 

 

 

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C 'l Cover Sheet Dockct No:
m%mr.*v v'J

 

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'/`he‘ information collected on this form is used solely for court administration pur})os'es. This }b)m does not
supplement or ) epla€e //ie filing and cervice of pleadings or other papers as required by law or rules aj court

 

Commencement ofAction_:
ij Compiaint Writ of`Sumrnnns
fl Transfer from Another Jurisdiction

m Pctition ,,
E Dcciaration of’l'al<ing

 

Lcad Dcfcndant's Namc; y
Costco Wholesale Corporation `,`_

[_'3 wavin ar%im:i'¢ii limits

E] outside arbitration limits

Lcad Plaintit`f`s Namc:
Charles P|otnick

 

Dollar Arnount Requcstcd:

[:‘ N° (check onc)

Arc money damages requested? Yes

 

Is this a Class Action Suit? l'_'_'] Yes [>`§l No Is this an MDJAppeal? l[l Yes No

 

 

Namc Of" Plaintiff`/Appcllant‘s Attomcy: MSFC S. RGSGF\be.G. ESQUirB
ij Check here it"you have no attorney (`are a Seif-Represcnted {Pro Sc| Litigant)

 

 

Place an “X" to the left of the ONE case category that most accurately describes your
PRIMARY CASE. if you arc making more than one type of claim, check the one that

you consider most important

Nature of the Case:

 

 

 

TE§]CU$ that require filing confidential informatiorr.gso mcgee di{fqm,qqy

_,.4,...,._., _.< ..__ __ ._ _ _

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Uni!ied Judicial Syslem of Pennsylvaé bone RecoQofU lime/§§ 365

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m Ma|icious Prosccution
[:] Moior Vehicle
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[37_} Prcmiscs Liability
l_j Product Liability (dnes nat include
mass lort)
[j Slander/Libel/ Dcfamation
l:i Other;

 

 

MASS TORT
i:t Asbcstos
ij Tobacco
l:i Toxic Ton - DI:`.S
ll:| 'l`oxic Tort - implant
[:] Toxic Waste
[`:] Othcr:

CONTRACT (dn rml include Judgmcnl.\')
ij Buyer Plaintii`i`
ij cht Collcction: Crcdit Card
ij Debt Collection: Other

 

Ij Employmcnt Disputc:
Discrimination
[:l Employmcnt Dispute: Other

CIVIL APPEALS
Administrativc Agcncies
`[j Board ofAssessment
ij Board ofE.lcctions
g Dcpt. ofTranspoz-tation
l:i Statutory Appcal: Other

 

Ij Zoning Board
§ Other:

 

 

 

 

 

 

 

PROFESSIONAL LIABLI'I`Y
[j Dental
§ chal
[j Medicat
[j Othcr Profcssional:

 

 

 

REAL PROPERTY
[`_'i chctmcnt
Ij Emincnt Domain/Condemnation
m Ground cht
lj Landlord/Tcnant Dispute
fl Mortgage Foreciosure: Residcntial
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WISCELLANEOUS
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Upda!ed 1/100] l

 

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 14 of 15

MAMMUTH & ROSENBERG

BY: MARC S. ROSENBERG, ESQUIRE
Al'l`ORNEY l.D. NO.: 44457

401 Cl”l`Y AVENUE, SUITE 122

BALA C`YNWYD, PA 19004-1 122
TELEPHONE: 610-667~i 500

FAX: 610-667-3660

EMAIL: Rosenberg@plaintiff.com
A'ITORNEY FOR PLAINTII"`F

 

C_H`ARLES PLOTNth
381 Lindcn Drivc
Elkins Park, PA 19027

and
DIANE PLOTNICK

381 Linden Drivc
Elkins Park, PA 19027

V.

Plaintii`f`s, h/w :

COS'I`CO WHOLESALE CORPORAT[ON

740 Upper State Road
North Wales, PA 19454
Defendant

 

THIS ls A MAJOR CASE.
JURY TRIAL rs DEMANDI;Q.

MONTGOMERY C

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l' ‘a.
cna ::1 ~

OUNTY

COURT OF COMMON PLEAS

NO.

PRAECIPE FOR SUMMONS

 

TO THE PROTHON()TARY:

issue Summons in Civii Action in the above case.

Writ of Summons shall bc forwarded to Attomey.

 

MAMMUT

By:

ROS ENBERG

MARC S. ROSENBER
Attorney for Plaintil`f`s,
Diane Plotnick, h/w

  

  
  
     
  

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G, E '-`
Ch s Plotnick &

Case 2:19-CV-00018-RBS Document 1 Filed 01/03/19 Page 15 of 15

MAMMU'I`H & ROSENBERG

BY: MARC S. ROSENBERG, ESQUIRE
A'l'I`ORNEY l.D. NO.: 44457

401 CITY AVENUE, SUI'l"E 122

BALA CYNWYD, PA 19004-1122
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EMAIL: Rosenberg@plaintiff.com
ATTORNEY F()R PLAINTIFF

 

?:HARLES PLOTNicK
381 l.,indcn Drive
Elkins Park, PA 19027

and
DIANE PLOTNICK

381 Linden Drive
Elkins Park, PA 19027

V.

COSTCO WI"'iOLESALE CORPORATION :

740 Upper State Road
North Walcs, PA 19454
Defendant

P|aintif`fs, h/w :

 

THIS IS A MAJOR CASE.

JURY TRIAL IS DEMANDED.

MONTGOMERY COUNTV
COURT Ol" COMMON PLEAS

NO.

SUMMONS IN AII) OF PREPAR[NG COMPLAINT

TO: COSTCO WHOLESALE CORPORATION

740 Upper State Roads
North Waics, PA 19454

You are notified that the Piaintiff has commenced an action against you.

SEAL

Date:

Mark Lew
Prothonotary, Montgomery County

 

Clerk/Deputy

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